
701 S.E.2d 242 (2010)
STATE of North Carolina
v.
Kevin Maurice HARGRAVE.
No. 287P10.
Supreme Court of North Carolina.
August 26, 2010.
Kevin Maurice Hargrave, pro se.
*243 Kathleen N. Bolton, Assistant Attorney General, for State of North Carolina.

ORDER
Upon consideration of the petition filed by Defendant on the 13th of July 2010 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 26th of August 2010."
